IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TENNESSEE
KNOXVILLE DIVISION

SHELIA FAY DYER, a citizen and )
resident of Blount County, Tennessee )

)
Plaintiff )
) CIVIL ACTION FILE NUMBER
V. )
) 3:13-CV-0209 Varlan/Guyton
THE HARTFORD d/b/a Hartford )
Life Group Insurance Company, an )
lnsurance entity licensed to do )
business and doing business in the )
State of Tennessee, and WAL-MART)
STORES, lNC. )
)
Defendants )
MQ.BQEB

Having considered the foregoing Joint Motion to Correct and Drop Parties,
and for Extension of Time to Answer or Otheiyvise Respond to Plaintift`s
Complaint, for good cause shown and all parties consenting hereto, it is hereby
ordered that:

(a) Wal~Mart Stores, lnc. shall be dropped as a party defendant;

(b) Hartford Life and Accident lnsurance Company shall be the named
defendant, Without the necessity of amended pleadings or additional service of
process;

(c) This action henceforth shall be styled and designated as Shelz`a Fay Dyer

Case 3:13-cV-00209-TAV-HBG Document 5 Filed 05/06/13 Page 1 of 2 Page|D #: 20

v. Hartford Lz`fe and Accicient lnsurance Company, Civil Action File No. 3 :13-CV-

0209 Varlan/Guyton; and

(d) Hartford Life and Accident lnsurance Cornpany shall have through and

including May 31, 2013, Within Which to answer or otherwise respond to plaintifi`s

complaint

so oRDERED, this § day er May, 2013.

Consented to:

s/ TO?/w\/P. Dra¢'a€/r
John P. Dreiser

BPR# 02()743

s/ Tm/W FMm/ar

Tony Farmer
BPR# 1865

Attorneys for Plaintiff

LAW O'FFICES oF ToNY FARMER
AND JOHN DREISER

1356 Paperrnill Pointe Way

Knoxville, TN 37919

(865) 584~1211 (telephone)y

(865) 584-1171 (facsiinile)

lE/W<~/§l\wa »a----

Honorablell~ l_>)raca Gayloa
United States W\a:));s. Judge

s/ Eli/§al)cti/\/ T. BovtoLvWa/v\f
Elizabeth J. Bondurant

Georgia Bar No. 066690

[admz'tted EDTN Aprz`l 1 7, 2009]

s/ N¢“]co{aM. Crow

Nil<ole M. Crow

Georgia Bar No. 198359
[admitted EDTN April ] 7, 2009]

Attorneys for Wal-Mart Stores, Inc.
and Hartford Life and Accident

Insurance Company

SMITH MooRE LEATHERWOOD LLP
23 00 Atlantic Center Plaza

1180 West Peachtree Street

Atlanta, Georgia 30309

(404) 962-1000 (telephone)

(404) 962-1200 (facsimile)

Case 3:13-cV-OO209-TAV-HBG Document 5 Filed 05/06/13 Page 2 of 2 Page|D #: 21

